    Case 1:22-cv-00333-TLA Document 1 Filed 03/16/22 Page 1 of 6 PageID #: 1




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                          )
In re:                                                    )        Chapter 11
                                                          )
MALLINCKRODT PLC, et al. 1,                               )        Case No. 20-12522 (JTD)
                                                          )
                                                          )        (Jointly Administered)
                            Debtors.                      )
                                                          )
                                                          )


                                               NOTICE OF APPEAL

         Kenneth Greathouse, Stuart Rose, and Lloyd Glenn (collectively, the “Glenridge

Principals”), creditors and parties-in-interest in the above-captioned bankruptcy cases, by their

undersigned counsel, and pursuant to 28 U.S.C. § 158(a) and Rules 8002(a) and 8003(a) of the

Federal Rules of Bankruptcy Procedure, hereby appeal from the Findings of Fact, Conclusions of

Law, and Order Confirming Fourth Amended Joint Plan of Reorganization (with Technical

Modifications) of Mallinckrodt PLC and Its Debtor Affiliates Under Chapter 11 of the

Bankruptcy Code [D.I. 6660], entered on the 2nd day of March, 2022, a copy of which is

attached hereto as Exhibit 1. The Glenridge Principals submit this Notice of Appeal in

conformity with Official Bankruptcy Form B417.




1   A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing
    agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675 McDonnell Blvd.,
    Hazelwood, Missouri 63042.
     Case 1:22-cv-00333-TLA Document 1 Filed 03/16/22 Page 2 of 6 PageID #: 2




PART 1: APPELLANTS

1.      Kenneth Greathouse, Stuart Rose, and Lloyd Glenn

2.      Position of Appellants: Creditors and Parties-in-Interest.

PART 2: SUBJECT OF APPEAL

     1. Order: Findings of Fact, Conclusions of Law, and Order Confirming Fourth Amended
        Joint Plan of Reorganization (with Technical Modifications) of Mallinckrodt PLC and Its
        Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [D.I. 6660]

     2. Date of Entry of Order:       March 2, 2022


PART 3: PARTIES TO THE APPEAL

Appellants:
Kenneth Greathouse, Stuart Rose, and Lloyd Glenn

Appellants’ Counsel:
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                                                   2
   Case 1:22-cv-00333-TLA Document 1 Filed 03/16/22 Page 3 of 6 PageID #: 3




Appellees:
Mallinckrodt plc and its affiliated debtors listed on Attachment 1 hereto.

Appellees’ Counsel:
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   Case 1:22-cv-00333-TLA Document 1 Filed 03/16/22 Page 4 of 6 PageID #: 4




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                                           Counsel to Creditors Kenneth Greathouse,
                                           Stuart Rose, and Lloyd Glenn




                                       4
Case 1:22-cv-00333-TLA Document 1 Filed 03/16/22 Page 5 of 6 PageID #: 5




                             ATTACHMENT 1
                             LIST OF DEBTORS
            Mallinckrodt plc
            Acthar IP Unlimited Company
            IMC Exploration Company
            Infacare Pharmaceutical Corporation
            INO Therapeutics LLC
            Ludlow LLC
            MAK LLC
            Mallinckrodt APAP LLC
            Mallinckrodt ARD Finance LLC
            Mallinckrodt ARD Holdings Inc.
            Mallinckrodt ARD Holdings Limited
            Mallinckrodt ARD IP Unlimited Company
            Mallinckrodt ARD LLC
            Mallinckrodt Brand Pharmaceuticals LLC
            Mallinckrodt Buckingham Unlimited Company
            Mallinckrodt Canada ULC
            Mallinckrodt CB LLC
            Mallinckrodt Critical Care Finance LLC
            Mallinckrodt Enterprises Holdings, Inc.
            Mallinckrodt Enterprises LLC
            Mallinckrodt Enterprises UK Limited
            Mallinckrodt Group S.a.r.l.
            Mallinckrodt Holdings GmbH
            Mallinckrodt Hospital Products Inc.
            Mallinckrodt Hospital Products IP Unlimited Company
            Mallinckrodt International Finance SA
            Mallinckrodt International Holdings S.a.r.l.
            Mallinckrodt IP Unlimited Company
            Mallinckrodt LLC
            Mallinckrodt Lux IP S.a.r.l.
            Mallinckrodt Manufacturing LLC
            Mallinckrodt Pharma IP Trading Unlimited Company
            Mallinckrodt Pharmaceuticals Ireland Limited
            Mallinckrodt Pharmaceuticals Limited
            Mallinckrodt Quincy S.a.r.l.
            Mallinckrodt UK Finance LLP


                                        5
Case 1:22-cv-00333-TLA Document 1 Filed 03/16/22 Page 6 of 6 PageID #: 6




            Mallinckrodt UK Ltd
            Mallinckrodt US Holdings LLC
            Mallinckrodt US Pool LLC
            Mallinckrodt Veterinary, Inc.
            Mallinckrodt Windsor Ireland Finance Unlimited Company
            Mallinckrodt Windsor S.a.r.l.
            MCCH LLC
            MEH, Inc.
            MHP Finance LLC
            MKG Medical UK Ltd
            MNK 2011 LLC
            MUSHI UK Holdings Limited
            Ocera Therapeutics, Inc.
            Petten Holdings Inc.
            SpecGx Holdings LLC
            SpecGx LLC
            ST Operations LLC
            ST Shared Services LLC
            ST US Holdings LLC
            ST US Pool LLC
            Stratatech Corporation
            Sucampo Holdings Inc.
            Sucampo Pharma Americas LLC
            Sucampo Pharmaceuticals, Inc.
            Therakos, Inc.
            Vtesse LLC
            WebsterGx Holdco LLC
            Mallinckrodt Equinox Finance LLC




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